Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 1 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Fill in this information to identify the case:

 

Debtorname Globe Photo, Inc.

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (ifknown) 20-11620-abl

Official Form 206Sum

 

O Check if this is an
amended filing

 

 

 

Summary of Assets and Liabilities for Non-Individuals 12/15
Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property:
Copy line 88 from Schedule A/B......c..cccccsssssssssssssssssssssvscescssssvescevecescescescescescesecesceneccesseceseststisustnasstnsansersnieseeseeeed $ 0.00
1b. Total personal property:
Copy line 91A from SCheduie A/Bou..ccscceccccsscscssscsssssssssesssvssueessueccusssavessuecsusersuessstersuessenessueessaneessutesrsneessseecueeretesase $ 1,659,000.00
1c. Total of ali property:
Copy line 92 from Schedule A/Bo....cssecssssessssssssssssssessssssecsnssessssessssecsssvessesessssussssececsssessssaeessenusssstaucssaneessecenseess $ 1,659,000.00
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.........ccccscesseccseteeeeee $ 5,095,395.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F..0... ccc csscesecsscsssensteesnerseseseasaeseedeesensersesseseaases $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule EVP... ccecsscssseecsesessestseneecsseeens +$ 4,374,790.91
4. Total ViaDIITIOS oc cee cess este esenssnsceseoresesscnessaeesessssceessasesceneesaesaeseseceetaasaeseesasasecassasatadsseteettsesenttaeavadsanes
Lines 2 + 3a + 3b $ 9,470,185.91
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 2 of 44

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Fill in this information to identify the case:

Debtorname Globe Photo, Inc.

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (if known) 20-11620-abl
OO Check if this is an

amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 1245

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

OC No. Go to Part 2.

@ Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of

debtor's interest

 

 

 

 

 

 

 

 

 

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (Identify ail)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. Wells Fargo Bank (Globe Photo LLC) 8864 $1,400.00
3.2. Wells Fargo Bank (Globe Photos, Inc.) 6400 $2,000.00
Wells Fargo Bank (Globe Photos Retail,
3.3. LLC) 0506 $500.00
4. Other cash equivalents (/dentify all)
5. Total of Part 1. $3,900.00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
BH No. Go to Part 3.
CQ Yes Fill in the information below.
Accounts receivable
10. Does the debtor have any accounts receivable?
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 3 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

Name

OINo. Go to Part 4.
@ Yes Fil in the information below.

 

 

 

 

 

11. Accounts receivable
11a, 90 days old or less: $54,000.00 - =... Est. $54,000.00
face amount doubtful or uncollect ble accounts
11a. 90 days old or less: $34,000.00 - =. Est. $34,000.00
face amount doubtful or uncollect ble accounts
12. Total of Part 3. $88,000.00

Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Investments

 

 

 

 

13. Does the debtor own any investments?

1B No. Go to Part 5.
1 Yes Fill in the information below.

Inventory, excluding agriculture assets

 

18. Does the debtor own any inventory (excluding agriculture assets)?

(No. Go to Part 6.
Ii Yes Fill in the information below.

General description Date of the last Net book vaiue of
physical inventory debtor's interest
(Where availabie)

19. Raw materials
20. Work in progress

21, Finished goods, including goods held for resate
Digital and paper photo
archives

Valuation method used Current value of
for current value debtor's interest

Est. $1,330,000.00

 

22. Other inventory or supplies

23. Total of Part 5.
Add lines 19 through 22. Copy the total to fine 64.

24. Is any of the property listed in Part 5 perishable?
No
Yes

$1,330,000.00

_———— |

 

25. Has any of the property listed in Part § been purchased within 20 days before the bankruptcy was filed?

@ No
D Yes. Book value Valuation method

Current Value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

Mi No
O Yes

Farming and fishing-related assets (other than titled motor vehicles and land)

 

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 4 of 44
DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

 

Debtor Globe Photo, Inc. Case number (i known) 20-11620-abi
Name

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

H No. Goto Part7.
C1 Yes Fill in the information below.

Office furniture, fixtures, and equipment; and coilectibies
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

 

CI No. Go to Part 8.
lB Yes Fill in the information below.

General description Net book value of Valuation method used Current value of
debtor's interest for current value debtor's Interest
(Where available)

39. Office furniture
Office furniture Est. $10,000.00

 

40. Office fixtures

41. Office equipment, including all computer equipment and
communication systems equipment and software
Office equipment Est. $25,000.00

 

42. Collectibles Examples: Antiques and figurines: paintings, prints, or other artwork;
books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles
421. Framed Office Art Est. $10,000.00

 

 

 

43. Total of Part 7. $45,000.00
Add lines 39 through 42. Copy the fotal to line 86. |

44, [sa depreciation schedule available for any of the property listed in Part 7?
No
O Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
No
D Yes
Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

 

CINo. Goto Pait 9.
@ Yes Fill in the information below.

General description Net book value of Valuation method used Current value of
Include year, make, model, and identification numbers debtor's interest for current value debtor's interest
{ie., VIN, HIN, or N-number} (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
floating homes, personal watercraft, and fishing vessets

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3
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Case 20-11620-abl Doc 14
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Debtor Globe Photo, Inc.
Name

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm

machinery and equipment)

Entered 04/02/20 17:17:23 Page 5 of 44

Case number (if known) 20-11620-abl

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fork Lift $0.00 Liquidation $1,000.00
Pallet Jack $0.00 Liquidation $100.00
51. Total of Part 8. $1,100.00
Add lines 47 through 50. Copy the total to line 87.
52. Is a depreciation schedule available for any of the property listed in Part 8?
HB No
D Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
@ No
1 Yes.
Real property
54. Does the debtor own or lease any real property?
No. Goto Part 10.
1 Yes Fill in the information below.
Intangibles and intellectual property
59. Does the debtor have any Interests in. intangibles or intellectual property?
(1 No. Go to Part 11.
I Yes Fil in the information below.
General description Net book value of Valuation method used Current value of
debtor's interest for current value debtor's interest
(Where available)
60. Patents, copyrights, trademarks, and trade secrets
61. Internet domain names and websites
Internet websites Est. $10,000.00
62. Licenses, franchises, and royalties
63. Customer lists, maillng lists, or other compilations
Mailing lists Est. $1,000.00
6A. Other intangibles, or intellectual property
intellectual property related to digital media Est. $180,000.00
65. Goodwill
66; Total of Part 10. $191,000.00
Add lines 60 through 65. Copy the total fo line 89.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 4
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Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

67.

68.

69.

Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 6 of 44

n Envelope ID: 85D3F F5F-7244-4703-AEA0-9994FA5SAC97C

 

Name

Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 1077
HiNo
0 Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 107
No
0 Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?
@ No
0 Yes

Part 11: All other assets

70.

71.

72.

73.

74,

75,

76.
77.

Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

DINo. Go to Part 12.
BB Yes Fill in the information below.

Current value of
debtor's Interest

Notes receivable
Description (include name of obligor)

Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)

Interests in insurance policies or annuities

Causes of action against third parties (whether or not a lawsuit
has been filed)

Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims

Trusts, equitablo or future interests in property

Other property of any kind not already listed Examples: Season tickets,

country club membership

(Storage space 7618) Public Storage, 133 2nd Street,

Jersey City, NJ 07302 (Retna archive)

(Storgae Unit c110) Premier Storage Solutions, 175

Union Ave., Islip, NY 11751 (Globe Photos)

(Unit 3 cootin) Aylesham Industrial Estate, Aylesham,

Canterbury CT3 3EP, UK (Avalon archive)

Storage, 6445 S. Tenaya Way, Suite B130, Las Vegas,

NV 89113 (MSN, Globe and Photoshot archives) Unknown

 

78.

79.

Total of Part 11. $0.00

Add lines 71 through 77. Copy the total to line 90.

 

Has any of the property listed In Part 11 been appraised by a professional within the last year?
@ No
O Yes

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 5
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Case 20-11620-abl Doc 14

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Debtor Globe Photo, Inc.

Name

EERE surmary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84,
85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Entered 04/02/20 17:17:23 Page 7 of 44

Case number (if known) 20-11620-abl

 

Type of property —

Cash, cash equivalents, and financial assets.
Copy line 5, Part 7

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.
Real property. Copy line 56, Part 9...0..ccceeseeseteeteneeeeeceeenees

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 17.

Current value of
personal property

$3,900.00

$0.00

$88,000.00

$0.00

$1,330,000.00

$0.00

$45,000.00

$1,100.00

$191,000.00

*, $0.00

 

Total. Add lines 80 through 90 for each column

 

$1,659,000.00

 

 

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Current value of real
property

+ 91b.

Schedule A/B Assets - Real and Personal Property

 

 

$0.00

 

 

 

 

$0.00

 

 

 

 

 

$1,659,000.00

 

page 6

Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 8 of 44

DocuSign Envelope ID: 85D3F F5F-7244-4703-AEA0-9994FA5AC97C

 

Fill in this information to identify the case:

Debtorname Globe Photo, Inc.

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (ifknown) 20-11620-abl
OO) Check if this is an

amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15
Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
C1 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

Yes. Fill in all of the information below.
List Creditors Who Have Secured Claims

 

 

 

 

 

 

 

 

 

 

 

2. List in alphabetical order all creditors who have secured clalms. If a creditor has more than one secured ee Couns
claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this
Do not deduct the value claim
of collateral.
2.1 | Amaratus Capital Describe debtor's property that is subject to a lien $80,000.00 Unknown
Creditors Name Inventory
c/o Nina Savani
235 East 40th, #20G
New York, NY 10016
Creditor's mailing address Describe the lien
UCC-1 Financing Statement
Is the creditor an insider or related party?
Bo
Creditor's email address, if known O ves
Is anyone else liabie on this claim?
Date debt was incurred Bino
0 Yes. Fitl out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Bio 0 Contingent
O ves. Specify each creditor, D1 unliquidated
including this creditor and its relative C1 Disputed
priority.
2.2 | Dino Satallante Describe debtor's property that is subject to a lien $1,015,396.00 Unknown
Creditor's Name Inventory
10309 Orkiney Drive
Las Vegas, NV 89144
Creditor’s mailing address Describe the lien
UCC-1 Financing Statement
Is the creditor an insider or related party?
NT
Creditor's email address, if known © Yes
Is anyone else liable on this claim?
Date debt was Incurred no
C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 9 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

 

 

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl
Name
Bi no O Contingent
D1 Yes. Specify each creditor, C1 unliquidated
including this creditor and its relative Oo Disputed
priority.

 

 

 

 

 

 

23 Falcon Capital Partners
| Limited Describe debtor's property that is subject to a lien $3,999,999.00 Unknown
Creditors Name Inventory
(Arranger of Multiple

Promissory Notes )
(Noteholder's addresses

 

 

unknown)

Room 501, 39 Wellington

Street

Central, HK 00000

Creditors mailing address Describe the lien
UCC-1 Financing Statement
Is the creditor an insider or related party?
a No

Creditors email address, if known O Yes
Is anyone else liable on this claim?

Date debt was incurred Bi no

C1 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number

Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply

Bi no O Contingent

CO Yes. Specify each creditor, CO Untiquidated

including this creditor and its relative oO Disputed

priority.

 

 

 

 

$5,095,395.0
3, Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. 0

 

[GEMGERE List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

 

Name and address On which line in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity
Official Form 206D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 10 of 44
DacuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Fill in this information to identify the case:

Debtorname Globe Photo, Inc.

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (if known) 20-11620-abl
OO Check if this is an

amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 1245

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
I No. Goto Part 2.
D Yes. Go to line 2.
[ENP List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.
Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $2,51 3.33
222 North Sepulveda Tenant LLC O Contingent
222 Pacific Coast Highway D unliquidated
El Segundo, CA 90245 O pisputed
Date(s) debt was incurred __ Basis for the claim: __

Last 4 digits of account number _ . .
Is the claim subject to offset? Hino Dyes

 

[32] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $6,414.06
Abg Epe Lp LLC C1 Contingent
1411 Broadway O unliquidated
4th Floor O pisputea

New York, NY 10018

Date(s) debt was incurred _ Basis for the claim: _

Last 4 digits of account number Is the claim subject to offset? Mno Oves

[33 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. Unknown
Alan Trammell D Contingent
clo S. Gary Spicer ; DO unliquidated
16845 Kercheval - Suite § C1 pisputed

Grosse Pointe, MI 48230

Basis for the clalm:
Date(s) debt was incurred __ asis For ene claim: _

Last 4 digits of account number Is the claim subject to offset? MNo C1 Yes

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Albert W. Kaline DO Contingent
3613 York Ct. D untiquidated
Bloomfield Hills, MI 48301 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:

Last 4 digits of account number _ . ;
Is the claim subject to offset? Bno DOves

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 10f 18
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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 11 of 44

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Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

 

Name

 

 

 

 

 

 

 

[35 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. Unknown
Amaratus Capital D1 Contingent
235 East 40th, #20G DO unliquidated
New York, NY 10016 CQ Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Myo Oves
Nonpriority creditor's name and maliing address As of the petition filing date, the claim is: Check aif that apply. $2,680.27
Andre Peschong D1 Contingent
1921 Deborah Lane C1 unliquidated
Newport Beach, CA 92660 C1 disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mno Oves
3.7 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $25,000.00
Anita Stearn
clo Ed Simons D1 Contingent
Marsh Mills Boathouse Wargrave Road 1D unliquidated
Henley on Thames, United Kingdom Ooi
Disputed
RG93HY
Basis for the claim:
Date(s} debt was incurred __ bats Vos dhe Geartns _
Last 4 digits of account number _ Is the claim subject to offset? Bno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check af that apply. Unknown
Bert Blyleven D1 Contingent
1501 McGregor Reserve Drive D unliquidated
Fort Myers, FL 33901-9658 OD Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition fillng date, the claim Is: Check aif that apply. Unknown
Bob Lilly O Contingent
104 Aster Circle DO unliquidated
Georgetown, TX 78628 OD pisputea
Date(s) debt was incurred __ Basis for the claim:
Last 4 diglts of account number _ ~
Is the claim subject to offset? Bno Oves
3.10 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check ali that apply. $200,000.00
Brett Bohn D contingent
D unliquidated
Date(s) debt was incurred _ oO Disputed
Last 4 digits of account number _ Basis for the claim:
ts the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ait that apply. $56,000.00
Bridgewater Capital Corporation OU contingent
2 Park Plaza, # 1240 D0 unliquidated
Irvine, CA 92614 O pisputea
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ . .
Is the claim subject to offset? Mno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 12 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

 

 

 

 

 

 

 

 

 

Name
[3-12] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. $1,836.00
Bright Interactive Ltd. D1 Contingent
Tower Point 44 North Road D1 Uniiquidated
Brighton, United Kingdom BN11YR O pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ | . ~
Is the claim subject to offset? Bino Dyes
[3-13__ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Cam Neely C1 Contingent
Blue Sky Sports & Ent. LLC oO Unliquidated
150 Washington Street Oo
Disputed
Norwell, MA 02061 °
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ is the claim subject to offset? Ml No Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $50,000.00
Capital Markets Access LLC 0 Contingent
25201 Paseo De Alicia, Suite 125 0D unliquidated
Laguna Hills, CA 92653 O pisputed
Date(s) debt was incurred _ Basis for the clalm:
Last 4 digits of account number _ , ~
Is the claim subject to offset? Hino Oves
[315 _| Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Carl Yastrzemski OC) Contingent
c/o Dick Gordon DZ unliquidated
99 River Oaks Circle Oo
. . Disputed
Pikesville, MD 21208 P
Date(s) debt was Incurred _ Basis for the claim: _
Last 4 digits of account number __ Is the claim subject to offset? Bno Oves
3.16 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aii that apply. Unknown
Carlton Fisk C1 Contingent
18705 63rd Avenue E D unliquidated
Bradenton, FL 34211 D1 disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Cathi Brody D1 contingent
604 Seven Fields Lane DO unliquidated
Brewster, NY 10509 CO Disputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __
Is the claim subject to offset? MI No 01 ves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. $461.52
CenturyLink OD Contingent
PO Box 4300 D1 uniiquidated
Caro! Stream, IL 60197-4300 O cisputed
Date(s} debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Mino Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 18

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Best Case Bankrupicy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 13 of 44

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Debtor Globe Photo, Inc. Case number {it known) 20-11620-abi

 

 

 

 

 

 

 

 

Name
3.19 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. $1,575.00
ChannelAdvisor Corporation D contingent
Lockbox W-502057 QO Untiquidated
P.O. Box 358031 Oo
: Disputed
Pittsburgh, PA 15251-5031 .
laim:
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Mno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $550.00
COLONIAL STOCK TRANSFER COMPANY D1 Contingent
66 Exchange Place DC unliquidated
Salt Lake City, UT 84111 C1 disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ 7
Is the claim subject to offset? Bn O Yes
[321] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,700.00
Commerce Technologies O Contingent
25736 Network Place 0 unliquidated
Chicago, IL 60637 oO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ 7
Is the claim subject to offset? Hino Oves
[3.22] Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check ail that apply. $1 30,000.00
Daniel Diedwardo O contingent
6445 South Tenaya Way, Suite b-130 0 unliquidated
Las Vegas, NV 89119 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Bno Oves
[323 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Dave Robinson CZ) Contingent
406 South Rose Bivd. D unliquidated
Akron, OH 44320-1308 O Disputed
Date(s) debt was Incurred __ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Dino Satallante D1 contingent
10309 Orkiney Drive D untiquidated
Las Vegas, NV 89144 C pisputea
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Brno Oves
[3.25] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Don Larsen CO] Contingent
P.O. Box 2863 DO unliquidated
Hayden, ID 83835 C1 Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Mno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 14 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

 

Name

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $6,502.50
DONOHOE ADVISORY ASSOCIATES LLC D1 Contingent
9901 Belward Campus Drive, Suite 175 0 Untiquidated
Rockville, MD 20850 CO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mno Oves
3.27 _ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $650,381.00
DP21,LLC O contingent
clo Shapiro Gettinger Waldinger & Monte D unliquidated
118 North Bedford Road B® pisputed
Mount Kisco, NY 10549
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Ml No O Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. Unknown
Drew Bledsoe OD) contingent
61961 Ballantree Ct. 0 unliquidated
Bend, OR 97702 C1 disputea
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? HBno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Ed Jones CZ contingent
One Lost Valley C1 untiquidated
Dallas, TX 75234 CO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. Unknown
Edgar Martinez OD contingent
PO Box 53490 D0 unliquidated
Bellevue, WA 98005-3490 O disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
ls the claim subject to offset’? Hno Oves
[331_| Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check aif that apply. Unknown
Edward Scott Yates 0 Contingent
saitalonont 4 OD unliquidatea
alepond hoa OD pisputed
Oakhurst, NJ 07755 ,
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Hino Dyes
[3.32] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $2,21 4.81
First Insurance Funding D1 contingent
PO Box 7000 C1 unliquidated
Carol Stream, IL 60197-7000 O pisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Bno Dyes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc 14

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Entered 04/02/20 17:17:23 Page 15 of 44

 

 

 

 

 

 

 

 

 

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl
Name
[3.33_] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. $6,875.00
Frank Recruitment Group Inc DO contingent
nk a en ' C1 unliquidated
a ree Oop:
Disputed
New York, NY 10005
he claim:
Date(s) debt was Incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Dves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. $372.37
Freeman O Contingent
PO Box 650036 CT unliquidated
Dallas, TX 75265-0036 O disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ;
Is the claim subject to offset? Mno O ves
[3.35 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Fuji Hunt Photographic Chemicals, Inc. O contingent
40 Boroline Road C1 unliquidated
Allendale, NJ 07401 CO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _
ts the claim subject to offset? Mno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Gale Sayers C1 contingent
2341 Hot Brook Point St. D1 unliquidated
Las Vegas, NV 89134-5511 1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? a No Dyes
3.37 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Gale Sayers C1 contingent
1313 Ritchie Ct., #407 OD unliquidated
Chicago, IL 60610 1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ; ; 7
ls the claim subject to offset? Mno Oyes
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check aif that apply. Unknown
Gerald Cheevers D contingent
106 Appleton Street D unliquidated
North Andover, MA 01845-3138 O nisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ | .
Is the claim subject to offset? Bno Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Gino Cappelletti D1 Contingent
19 Louis Drive D unliquidated
Wellesley Hills, MA 02481 OD pisputea
Date(s) debt was Incurred _ Basis for the claim: _
Last 4 digits of account number _ , ;
Is the claim subject to offset? Bno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 16 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

 

 

 

 

 

Name
3.40 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $101.00
Globatone Filings, Inc. Oi contingent
3451 Via Montebello 1D unliquidated
unit 192-410 Op
Disputed
Bethune, SC 29009 °
is for the claim:
Date(s) debt was incurred _ Basis for the claim: __
Last 4 digits of account number _ Is the claim subject to offset? Ml No D1 Yes
3.41 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al! that apply. $46.85
Hartford Insurance Company of Illinois D1 Contingent
4245 Meridian Parkway 0 unliquidated
Aurora, IL 60504 oO Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of tho patition filing date, the claim is: Check al that apply. $2,824.00
Harwyn Limited C1] Contingent
Timberchase, The Warren D1 unliquidated
Ashtead Surrey KT21 2SG C1 Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mno Oyes
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check ai that apply. $40,269.88
HIGHTOUCGH SOLUTIONS DO contingent
8249 Ocean Terrace Way 0 unliquidated
Las Vegas, NV 89128 CO Disputed
Date(s) debt was Incurred __ Basis for the claim:
Last 4 digits of account number _ 7
Is the claim subject to offset? Byno Oves
3.44 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. $15,311.85

Holly Driggs Walch
400 S 4th Street
Las Vegas, NV 89101

Date(s) debt was incurred __
Last 4 digits of account number _

O Contingent
DO untiquidated
Oo Disputed

Basis for the claim: _

Is the claim subject to offset? Bno Oves

 

Nonpriority creditor's name and mailing address
Iconz Art LLC
cio Registered Agent - Scott C. Black
6445 S. Tenaya Drive, Suite 130
Las Vegas, NV 89113

Date(s) debt was incurred __
Last 4 digits of account number __

As of the petition filing date, the claim Is: Check aif that apply.

Q Contingent
Oo Unliquidated
oO Disputed

Basis for the claim: _

Is the claim subject to offset? Hino Oves

$620,048.00

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $2,500.00
Image Locker , Inc. D Contingent
No 42, 8th Street, T Block C1 unliquidated
Anna Nagar, Chennai 600 040 TN O bisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number
~~ Is the claim subject to offset? Mno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 7 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 17 of 44

DocuSign Envelope ID: 85D3F F5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc.

Case number (if known) 20-11620-abl

 

 

 

 

 

 

 

 

Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $11,488.72
IPFS Corporation T Contingent
PO Box 412086 OD unliquidated
Kansas City, MO 64141 0 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? no Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ait that apply. Unknown
Jack Youngblood O Contingent
4377 Steed Terrace DO unliquidated
Winter Park, FL 32792-7630 O pisputea
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Mno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Jerry Koosman D1 contingent
2483 State Road 35 DO unliquidated
Osceola, W! 54020 O Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Myno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. Unknown
Jerry Rice C) contingent
128 S. First Street D unliquidated
Campbell, CA 95008 1 pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ . .
Is the claim subject to offset? Mno Oves
[351 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Jim Plunkett C1 contingent
51 Kilroy Way DO unliquidated
Atherton, CA 94027 1 pisputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ , :
Is the claim subject to offset? Mno Oves
[3:52__ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Joe Carter OD contingent
3000 W. 117th 0 unliquidated
Leawood, KS 66211 1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ .
Is the claim subject to offset? Hno Oyes
[333__ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aff that apply. Unknown
Joe Greene D Contingent
5109 Lippizaner Drive 0 unliquidated
Flower Mound, TX 75028 C1 pisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 8 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 18 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Case number (if known) 20-11620-ablI

 

Debtor Globe Photo, Inc.

Name

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition fillng date, the claim is: Check aif that apply. Unknown
John H. Lambert 0 Contingent
318 Gaiser Road D unliquidated
Worthington, PA 16262-9115 O pisputea
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Byno Oves
[3.55] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. Unknown
John M. Rivers O contingent
350 N.W. 48th. Street C1 unliquidated
Miami, FL 33127 O disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ . .
Is the claim subject to offset? HMno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Johnny Bench DO Contingent
3899 Ridgedale Drive 0 Uniiquidated
Cincinnati, OH 45247 0 Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ | |
Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $104,069.56
Jondo Global Inc O1 Contingent
22700 Savi Ranch Parkway DO unliquidated
Yorba Linda, CA 92887 CO Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ | ~
|s the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $50,000.00
Joseph O. Oltmans, III D1 Contingent
D1 unliquidated
Date(s) debt was incurred __ D Disputed
Last 4 digits of account number __ Basis for the claim:
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check ai that apply. Unknown
Keith Hernandez O1 contingent
cio Mead Chaskey Sports Ent. DO unliquidated
70-20 108 Street, Suite 2-K Oo
. Disputed
Forest Hills, NY 11375 ‘
Basi: jim:
Date(s) debt was incurred __ asta for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing dato, the claim is: Chack ai that apply. Unknown
Ken Griffey, Jr. O contingent
c/o Brian Goldberg, Esq. CO untiquidated
312 Walnut St., Suite 1151 Oo
ws ' Disputed
Cincinnati, OH 45202
Date(s} debt was incurred __ Gasis for the claim: _
Last 4 digits of account number _ |s the claim subject to offset? Bno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 9 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 19 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

Name

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $520.00
Klaus Moeller O contingent
25 Quarterdeck Street D1 Unliquidatea
Marina Del Rey, CA 90292 D1 Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ . . ~
|s the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Las Vegas Valley Water District O contingent
1001 S. Valley View Blvd. 0 unliquidated
Las Vegas, NV 89153 1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ |
Is the claim subject to offset? Myo Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Lee Smith D1 Contingent
ci o ony Rooney. it 1 unliquidated
roviaence Cou D pisputed
Crystal Lake, IL 60012 °
is fe 3
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ (s the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Lindenmeyr Munroe O1 contingent
PO Box 416207 CO unliquidated
Boston, MA 02241-6207 O bisputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. Unknown
Lloyd Haymes 0) contingent
18 Norwood Terrace DO unliquidated
Millburn, NJ 07044 0 pisputea
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Bno Cres
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
LSQ Funding Group, L.C. D contingent
2600 Lucien Way, Suite 100 DO unliquidated
Maitland, FL 32751 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __
Is the claim subject to offset? Mno Dyes
3.67 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $15,000.00
MALONE BAILEY LLP O contingent
9801 Westheimer Road, suite 1100 D1 unliquidated
Houston, TX 77042 O pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 10 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 20 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (itknown) _ 20-11620-abl

 

Name

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition fillng date, the claim is: Check aif that apply. Unknown
Manny Flores CI Contingent
3912 Johnson Street CO unliquidated
Frisco, TX 75034 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ '
ts the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. $8,824.1 1
Max Scheder-Bieschin C1 Contingent
PO Box 160155 DO unliquidated
Big Sky, MT 69716 O pisputea
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ | |
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Mike Mussina D contingent
WMG LLC; Attn: M. Meehan DO unliquidated
10960 Wilshire Blvd, Suite 2200 Opi
Disputed
Los Angeles, CA 90064
laim:
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aff that apply. $12,946.93
MSN Holding LLC 0 Centingent
c/o Registered Agent - Scott C. Black OD unliquidated
6445 S. Tenaya Drive, Suite 130 Ooi
Disputed
Las Vegas, NV 89113
Basi: im:
Date(s) debt was incurred _ asis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Byno Oyes
Nonpriority creditor's name and maliing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Neal Broten DO contingent
N8216 690th. Street C0 unliquidated
River Falls, WI 54022 CO Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
is the claim subject to offset? Mino Oves
3.73 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
NV Energy 01 Contingent
6226 W. Sahara Ave. D unliquidated
Las Vegas, NV 89146 CO Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Myo Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $18,107.03

ORACLE AMERICA, INC.

Bank of America Lockbox Services
15612 Collections Center Drive
Chicago, IL 60693

Date(s) debt was incurred __

Last 4 digits of account number _

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O Contingent
Oo Unliquidated
oO Disputed

Basis for the claim: __

Is the claim subject to offset? Mno Oves

Schedule E/F: Creditors Who Have Unsecured Claims

Page 11 of 18
Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 21 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (it known) 20-11620-abl

 

 

 

 

 

 

 

 

 

Name
3.75 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $6,500.00
OTC Markets Group CD Contingent
300 Vesey Street, 12th Floor D unliquidated
New York, NY 10282 D1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. $103.50
Overstock.com D1 Contingent
PO BOX 74819 0 unliquidated
Chicago, IL 60694 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Myo Oves
[377_| Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check ai that apply. $2,775.00
Patent and Trademark Office D1 Contingent
PO Box 287221 1 unliquidated
New York, NY 10130-0037 O disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $535,833.00
Paul Bunker CO contingent
1025 Aviator Curt C1 unliquidated
Henderson, NV 89002 OD Disputed
Date(s) debt was Incurred __ Basis for the claim:
Last 4 digits of account number _
ts the claim subject to offset? Bo Oves
[3.79] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ali that apply. Unknown
Paul Coffey 1 Contingent
c/o Derrick Luck 0 unliquidated
2400 Dundas St., W #6 C1 visputed
Mississauga, ON
is for the claim:
Date(s) debt was incurred __ Basis for the clalm: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Paul Costello O Contingent
251 Woodview Dr D unliquidated
Paducah, KY 42003 O1 pisputed
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ .
Is the claim subject to offset? Mno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $500,000.00
Pegasus Capital II LP O contingent
clo cumman vn LLC C1 unliquidated
reenwici ve. O pisputea
Greenwich, CT 06830 °
Basis fe laim:
Date(s) debt was incurred _ asis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 12 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 22 of 44

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Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

 

 

 

 

 

 

 

 

 

Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. Unknown
Phil Esposito O contingent
c/o Mark Esposito CO unliquidated
418 55th. Avenue Op;
. Disputed
Saint Petersburg, FL 33706 P
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ \s the claim subject to offset? Mno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $20,164.10
Picture and Poster OD Contingent
1000 N. Green Valley Pkwy DO unliquidated
#440-403 Ooi
Disputed
Henderson, NV 89074 °
Date(s) debt was Incurred _ Basis forithe:ctalm: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Dyes
3.84 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $13,500.00
Picture Frame Fulfillment LLC D contingent
9201 King Street D2 unliquidated
Franklin Park, IL 60131 C1 disputed
Date(s) debt was Incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $220,000.00
Pinnacle CO contingent
c/o Pinnacle Management Group O unliquidated
675 3rd Ave., 9th Floor Ooi
Disputed
New York, NY 10017 .
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number __ Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. Unknown
Porter Capital Corporation D1 Contingent
2112 1st Avenue North OO untiquidatea
Birmingham, AL 35203 O pisputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mino Oves
[3.87] Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $195.00
PR Newswire Association, LLC D contingent
GPO Box 5897 OD unliquidated
New York, NY 10087-5897 D disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? i No Oyes
Nonpriority creditor's name and malling address As of the petition filing date, the claim Is: Check all that apply. $65,085.00
Premier Collectibles Corporations D1 contingent
c/o Paul M. Healey & Sons CPA, Ltd. 1 unliquidated
3263 E. Warm Springs Road Oo;
Disputed
Las Vegas, NV 89120 °
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? MNno Oves
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 13 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 23 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (ifknown) — 20-11620-abl

 

Name

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Premier West Islip O Contingent
175 Union Blvd C unliquidated
West Islip, NY 11795 C1 Disputed
Date(s) debt was Incurred _ Basis for the claim:
Last 4 digits of account number _
\s the claim subject to offset? Hno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check ail that apply. $69,074.00
Printing Management Associates OO Contingent
P.O. Box 716 C1 unliquidated
New York, NY 10018-0716 O visputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
[3.91 | Nonpriority creditor's name and mailing address As of the petition filing date, the clalm is: Check aif that apply. $123,866.33
Procopio, Cory, Hargreaves & Savitch LLP D Contingent
PO Box 515137 DO unliquidated
Los Angeles, CA 90051-5137 O pisputea
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Bno O yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Public Storage DO contingent
133 2nd Street 0 unliquidated
Jersey City, NJ 07302 oO Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check aif that apply. $200,000.00
RADDS, Inc. O Contingent
D0 unliquidated
Date(s) debt was incurred _ DO Disputed
Last 4 digits of account number __ Basis for the claim:
Is the claim subject to offset? Byno Oves
3.94 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $95,000.00
Randal Munske O1 contingent
1714 148th St. D0 unliquidated
Bothell, WA 98012 OO pisputed
Date(s) debt was incurred __ Basis for the claim: _
Last 4 digits of account number _ :
Is the claim subject to offset? HBno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. Unknown

Randy White CO Contingent
5000 East FM 1461 D0 Unliquidated
Prosper, TX 75078 1 Disputed

Date(s) debt was incurred _
Last 4 digits of account number _

Basis for the claim:

Is the claim subject to offset? Bno Dyes

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 14 of 18
Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 24 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Case number (if known) 20-11620-abl

 

Debtor Globe Photo, Inc.

Name

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alt that apply. Unknown
Richard Dent D1 contingent
333 North Michigan Avenue OD untiquidated
Chicago, IL 60601 C1 Disputed
Date(s) debt was Incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Bno Oves
3.97 _ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Richard M. Gossage O Contingent
35 Marland Road 1 unliquidated
Colorado Springs, CO 80906 D disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? aH No (1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check aif that apply. Unknown
Rickey Henderson Oi Contingent
41 Starview Drive 0 unliquidated
Oakland, CA 94618 C1 pisputea
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __ ~
Is the claim subject to offset? MNno Dyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Ripken Baseball O1 contingent
Schulte Sports, Inc. 0 unliquidated
1427 Clarkview Road., Suite 100 C1 pisputed
Baltimore, MD 21209
for the claim:
Date(s) debt was Incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Hino Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the clalm is: Gheck aif that apply. $3,856.93
Risk Strategies C1 Contingent
PO Box 970069 DO unliquidated
Boston, MA 02297 OD Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ . ~
is the claim subject to offset? Mno Oves
3.101 | Nonprlority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Robert Gibson O contingent
215 Bellevue Blvd. South 0 unliquidated
Bellevue, NE 68005 O pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Myo Oves
3.102 / Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. Unknown
Rod Gilbert D1 contingent
c/o Schulte Sports Marketing 1 unliquidated
8700 Snowhill Court Op
Disputed
Potomac, MD 20854
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Mno Oyes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 15 of 18

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 25 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Case number (if known) 20-11620-ab]

Debtor Globe Photo, Inc.

 

 

 

 

 

 

 

Name
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check aif that apply. Unknown
Royal Network, LLC OD Contingent
sree oa, enange eo 1 unliquidated
arimer Street, Ooi
Disputed
Denver, CO 80202 °
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Mno Oyes
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check ai that apply, Unknown
Sara White DO Contingent
146 Pine Mist Drive C1 unliquidated
Mooresville, NC 28117-3522 C1 visputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Mno Oves
3.105 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai that apply. Unknown
Sean Goodchild C1 Contingent
APARTADO 1230 oO Unliquidated
P-8401-910 PRAIA DO CARVOEIRO Oi pisputed
ALGARVE, Portugal P-8401-910
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. Unknown
Securities and Exchange Commission C1 contingent
Los Angeles Regional Office CO unliquidated
444 South Flower Street, Suite 900 O pisputed
Los Angeles, CA 90071
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ |s the claim subject to offset? Bno Oves
3.107 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Southwest Gas CJ Contingent
5241 Spring Mountain Road D1 unliquidated
Las Vegas, NV 89146 C1 Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ 7
is the claim subject to offset’? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. $439.68
Southwest Gas Corporation D1 contingent
PO Box 98890 0 unliquidated
Las Vegas, NV 89193 0 visputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ . . ~
Is the claim subject to offset? Mno Dyes
3.109 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $440,000.00

SPOYA PTY LTD

Massimo Guida

U801/180 Dornoch Terrace
Highgate Hill QLD 4101, Australia

Date(s) debt was incurred __
Last 4 digits of account number _

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0 Contingent
CI unliquidated
CD Disputed

Basis for the claim: _

Is the claim subject to offset? Mino Oves

Schedule E/F: Creditors Who Have Unsecured Claims

Page 16 of 18
Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 26 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl

 

Name

 

 

 

 

 

 

3.110 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check all that apply. Unknown
Steve Grogan O contingent
PO Box 371 D unliquidated
Mansfield, MA 02048 0 pisputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number __
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. Unknown
Steven Samagaio O1 contingent
5 Parkview Ave E. DO unliquidated
West Harrison, NY 10604 O pisputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _ . .
Is the claim subject to offset? Mno Clyes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. Unknown
Stew Milne 0 contingent
527 River Ave. 0 unliquidated
Providence, RI 02908 DO Disputed
Date(s} debt was incurred __ Basis for the claim:
Last 4 digits of account number _ .
Is the claim subject to offset? Bn O Yes
Nonpriority creditor's name and mailing address As of the patition filing date, the claim is: Check aif that apply. $52.95
Sting Alarm, Inc. C1 contingent
7120 Rafael Ridge Way D0 unliquidated
Las Vegas, NV 89119-4002 C1 Disputed
Date(s) debt was incurred _ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Hino Oves
3.114 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aii that apply. $0.48
TBI Consulting DO Contingent
9920 Pacific Heights Blvd #150, C7 unliquidated
San Diego, CA 92121 C1 disputed
Date(s} debt was incurred __ Basis for the claim:
Last 4 digits of account number _ | |
Is the claim subject to offset? Mno Oyes
Nonpriority creditor's name and mailing address As of the petition filing date, the clalm Is: Check aif that apply. Unknown
TED HALPERIN 0 contingent
142 HITCHING POST LANE OF unliquidated
Yorktown Heights, NY 10598 O pisputea
Date(s) debt was Incurred _ Basis for the claim:
Last 4 digits of account number _ ' ~
Is the claim subject to offset? Bno Oves
3.116 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check al that apply. $10,070.92

Tenaya Lofts LLC OD Contingent
6415 S. Tenaya Way, #105 C1 unliquidated
Las Vegas, NV 89113 D1 Disputed

Date(s) debt was incurred __
Last 4 digits of account number _

Basis for the claim: _

ts the claim subject to offset? Myo Oves

 

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Schedule E/F: Creditors Who Have Unsecured Claims

Page 17 of 18
Best Case Bankruptcy
Case 20-11620-abl

Doc 14 Entered 04/02/20 17:17:23 Page 27 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FASAC97C

 

 

 

 

 

 

Debtor Globe Photo, Inc. Case number (if known) 20-11620-abl
Name
3.117 | Nonprlority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $700.00
The Computer Admin C1 Contingent
7227 Broadway, Suite 306 DO unliquidated
Lemon Grove, CA 91945 O pisputea
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _
Is the claim subject to offset? Ml No DJ Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $164.06
The Estate of Marilyn Monroe
c/o Authentic Brands Group O Contingent
Legal Department hFl D unliquidated
1411 Broadway, 4th Floor Ooi
Disputed
New York, NY 10018 P
B. he claim:
Date(s) debt was incurred _ asis for the claim: _
Last 4 digits of account number __ Is the claim subject to offset? Mno Oves
3.119 | Nonpriority creditor's name and mailing address As of the petition filing date, the claim Is: Check af that apply, $14,729.00
West LLC O centingent
C/O SMRL MANAGEEMENT LLC CO Uniiquidatea
80 MAIDEN LANE STE #2204 C1 Disputed
New York, NY 10038-2609
Date(s) debt was incurred _ Basis for the claim: _
Last 4 digits of account number _ Is the claim subject to offset? Byno Oves
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $4,547.17
Wings Worldwide, LLC D1 Contingent
210 Summit Ave 0 unliquidated
Montvale, NJ 07645 CO Disputed
Date(s) debt was incurred __ Basis for the claim:
Last 4 digits of account number _ ~
Is the claim subject to offset? Bno Oves
Nonpriority creditor's name and mailing address As of the petition fillng date, the claim Is: Check aif that apply. Unknown

Xerox Corporation
PO Box 827598
Philadelphia, PA 19182-7598

Date(s) debt was incurred __
Last 4 digits of account number _

Oo Contingent
D unliquidated
O Disputed

Basis for the claim: _

Is the claim subject to offset? i No U1 yes

 

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional Pages are needed, copy the next page.

 

 

 

Name and mailing address On which line in Parti or Part 2 Is the Last 4 digits of
telated creditor (if any) listed? account number, if
any
Total Amounts of the Priority and Nonprlority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts
5a. Total claims from Part 1 Sa. $ 0.00
5b. Total claims from Part 2 Sb, + § 4,374,790.91
5c. Total of Parts 1 and 2
Lines Sa + 5b = 5c. 5c, $ 4,374,790.91
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 18 of 18
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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 28 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

   

  

Fill in this information to identify the case:
| Debtor name Globe Photo, Inc.

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number (ifknown) 20-11620-abl
(1 Check if this is an
amended filing

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

0 No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

& Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1. State what the contract or Dealer Agreement

lease is for and the nature of
the debtor's interest

State the term remaining Astdibs fine art
T

 

 

List the contract number of any 51 Astor Place, 3rd Fl
government contract New York, NY 10003
2.2. State what the contract or Directors and officers
lease is for and the nature of | (D&O) liability
the debtor's interest insurance

State the term remaining 3/20/2021
AHT Insurance

 

 

List the contract number of any 20 S. King Street
government contract Leesburg, VA 20175
2.3. State what the contract or Distribution Agreement

lease is for and the nature of
the debtor's interest

State the term remaining APA-Picture Desk GmbH
Laimgrubengasse 10
List the contract number of any 1060 Wein, Austria

government contract

 

 

2.4, State what the contract or License Agreement
lease is for and the nature of
the debtor's interest

State the term remaining 7/1/2020
Art Headquarters, LLC dba Wendover Art G

 

 

List the contract number of any 6465 126th Ave. North
government contract Largo, FL 33773
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 9

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Case 20-11620-abl

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor1 Globe Photo, Inc.

First Name Middle Name

Last Name

Doc 14 Entered 04/02/20 17:17:23 Page 29 of 44

Case number (ifknown) + 20-11620-abl

 

Ee Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

 

 

lease
2.5. State what the contract or Artspace Institution
lease is for and the nature of Selling Agreement
the debtor's interest
State the term remaining
Artspace LLC
List the contract number of any 65 Bleeker Street, 8th FI
government contract New York, NY 10012
2.6. State what the contract or Consignment
lease is for and the nature of | Agreement
the debtor's interest
State the term remaining .
Auctionata, Inc.
List the contract number of any 595 Madison Ave. 5 Fl
government contract New York, NY 10022
2.7. State what the contract or Licensing Agreement
lease is for and the nature of — regarding Production
the debtor's interest Rights for Fine Art
Edition
State the term remaining 1/29/2021 Avenso GmbH
Ernst-Reuter-Platz
List the contract number of any Berlin, Germany 10587
government contract
2.8. State what the contract or Phone
lease is for and the nature of
the debtor's interest
State the term remaining
CenturyLink
List the contract number of any PO Box 4300
government contract Carol Stream, IL 60197-4300
2.9. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest
State the term remaining Cover Images Limited
60 Gray's Inn Road
List the contract number of any London, England, WC1X 8AQ
government contract
2.10. State what the contract or Distribution Agreement

Official Form 206G

lease is for and the nature of
the debtor's interest

State the term remaining

List the contract number of any

 

Schedule G: Executory Contracts and Unexpired Leases

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CTK Photobank
Opletalova 5/7
11144 Prague, Czech Republic
Page 2 of 9
Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 30 of 44

DocuSign Envelope ID: 85D3F F5F-7244-4703-AEA0-9994FA5AC97C

Debtor 1 Globe Photo, Inc. Case number (known) ~20-11620-abl
First Name Middle Name Last Name

 

ra Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

government contract

 

 

2.11. State what the contract or Artwork License
lease is for and the nature of | Agreement
the debtor's interest

State the term remaining 09/14/2022
CVS Pharmacy, Inc.

One CVS Drive

List the contract number of any Woonsocket, RI 02985
ocket,

government contract

 

 

2.12. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest

Ddp images GmbH
StraBenbahnring 7, D-20251
Hamburg, Germany

State the term remaining

List the contract number of any
government contract

 

 

2.13. | State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest

East News
Olshaya Spasskaya, bI-12, app 81-82
Moscow, Russia

State the term remaining

List the contract number of any
government contract

 

 

2.14. | State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest

East News SP ZOO
Swietojerska 5/7
Warsaw, Poland

State the term remaining

List the contract number of any
government contract

 

 

2.15. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest

East News Ukraine
Kiyanovsky bystreet 3-704053
Kiev, Ukraine

State the term remaining

List the contract number of any
government contract

 

 

 

2.16. State what the contract or Getty Images
lease is for and the nature of | ContributorAgreement Getty Images (US), Inc.
the debtor's interest 75 Varick Street
New York, NY 10013
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 3 of 9

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 31 of 44

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Case number (known) 20-11620-abl

Debtor 1 Globe Photo, Inc.

First Name Middle Name Last Name

Py Additional Page if You Have More Contracts or Leases

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2. List all contracts and unexpired leases

State the term remaining

List the contract number of any
government contract

 

 

 

 

 

 

 

 

 

2.17. State what the contract or Consignment
lease is for and the nature of | Agreement
the debtor's interest
State the term remaining
Gotta Have Rock and Roll.com
List the contract number of any 153 E. 57th St.
government contract New York, NY 10022
2.18. | State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest
State the term remaining Gtres Informacion mas Communicacion
Valportillo Segunda14
List the contract number of any 28108 Madrid, Spain
government contract
2.19. State what the contract or Storage Lease
lease is for and the nature of | Agreement
the debtor's interest
State the term remaining —-8/31/2022 Harwyn Limited
Timberchase, The Warren
List the contract number of any Ashtead Surrey KT21 2SG
government contract
2.20. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest
State the term remaining Hollandse Hoogte B.V.
Zwaardstraat 16 2584
List the contract number of any TX Den Haag, the Netherlands
government contract
2.21. State what the contract or Consignment

lease is for and the nature of © Agreement

the debtor's interest
State the term remaining

List the contract number of any
government contract

Howard Greenberg Gallery
41 E. 57th Street, Suite 1406
New York, NY 10022

 

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Schedule G: Executory Contracts and Unexpired Leases

Page 4 of 9
Best Case Bankruptcy
DocuSign Envelope ID: 85D3F F5F-7244-4703-AEA0-9994FA5AC97C

Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 32 of 44

Debtor1 Globe Photo, Inc.

First Name Middle Name Last Name

Case number (ifknown) 20-11620-abl

 

Ey Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired

 

 

 

 

 

 

 

 

 

 

lease
2.22. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest
State the term remaining Isopix .
Rue Fritz Toussaint 55 / A.4
List the contract number of any 1050 Brussels, Belgium
government contract
2.23. State what the contract or Utilities
lease is for and the nature of
the debtor's interest
State the term remaining
Las Vegas Valley Water District
List the contract number of any 1001 S. Vailey View Blvd.
government contract Las Vegas, NV 89153
2.24. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest
State the term remaining 3/20/2021
List the contract number of any MediaPunch Photos
government contract Staten Island, NY 10314
2.25. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest
MV Photos
State the term remaining Untuvaisentie 1 A 23
FIN-00820
List the contract number of any Helsinki, Finland
government contract
2.26. State what the contract or Utilities
lease is for and the nature of
the debtor's interest
State the term remaining
NV Energy
List the contract number of any 6226 W. Sahara Ave.
government contract Las Vegas, NV 89146
2.27 State what the contract or Distribution Agreement

Official Form 206G

lease is for and the nature of
the debtor's interest

State the term remaining

List the contract number of any

Other Images LTDA
Carrera 13 No.93-68 of 304
Bogota 110221

Columbia S.A.

 

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Schedule G: Executory Contracts and Unexpired Leases

Page 5 of 9
Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 33 of 44

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Debtor1 Globe Photo, Inc. Case number (ifknown) 20-11620-abl
First Name Middle Name Last Name

 

Ee] Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired

lease

government contract

 

 

2.28. State what the contract or Consignment
lease is for and the nature of Agreement
the debtor's interest

State the term remaining Paddles
addle

30 Cooper Square., 6th FI

List the contract number of any New York, NY 10003
ew York,

government contract

 

2.29. State what the contract or Distribution and Sales
lease is for and the nature of Agreement
the debtor's interest

State the term remaining 2/14/2021 Photo 12
14 rue des Jardins Saint-Paul

List the contract number of any Paris, France 75004

government contract

 

 

2.30. State what the contract or License Contract
lease is for and the nature of
the debtor's interest

State the term remaining Post Ic
osterazzi Corp.

144 Main Street

List the contract number of any Chester, NY 10918
ester,

government contract

 

2.31. State what the contract or Storage Lease
lease is for and the nature of Agreement
the debtor's interest

State the term remaining P ier West Isli
remier West Islip

175 Union Blvd

List the contract number of any West Islip, NY 11795
est Islip,

government contract

 

 

2.32. | State what the contract or Publishing Agreement
lease is for and the nature of
the debtor's interest

State the term remainin
9 Press Syndication Group LLC dba PSG

4141 N. Sacramento Ave.

List the contract number of any Eh il. BOE4s
icago,

government contract

 

 

2.33. State what the contract or Master Services Printing Management Associates
lease is for and the nature of Agreement c/o Breme Whyte Brown & O’Meara LLP
the debtor's interest 20320 S.W. Birch Street
Newport Beach, CA 92660
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 6 of 9

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 34 of 44

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Debtor! Globe Photo, Inc. Case number (ifknown) 20-11620-abl
First Name Middle Name Last Name

esl Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

State the term remaining 9/1/2021

List the contract number of any
government contract

 

2.34. | State what the contract or Storage Lease
lease is for and the nature of Agreement
the debtor's interest

State the term remaining Public St
ublic Storage

133 2nd Street

List the contract number of any J City, NU 07302
ersey City,

government contract

 

 

2.35. | State what the contract or Distribution Agreement
lease is for and the nature of

the debtor's interest
Real Time Images

24 Alfred Street
Cape Town 8001
SOuth Africa

State the term remaining

List the contract number of any
government contract

 

 

2.36. State what the contract or Agreement
lease is for and the nature of
the debtor's interest

State the term remaining Rock P ae
ock Paper Photo,

220 W. 42nd Street, 24th FI

List the contract number of any New York, NY 10036
lew York,

government contract

 

 

2.37. State what the contract or Distribution Agreement
lease is for and the nature of

the debtor's interest
Shanghai Yingmai WenHua Chuanbo Youxian

Attention: Kuang Zhanchen
5/F Bidg. 4, 990 Changping Road
200042 Shanghai, Peoples’s Rep. of China

State the term remaining

List the contract number of any
government contract

 

 

2.38. State what the contract or Licensing Agreement
lease is for and the nature of
the debtor's interest

State the term remaining Sipa P ;
ipa Press Inc.

307 7th Ave., Suite 1806

List the contract number of any New York, NY 10004
lew York,

government contract

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 7 of 9
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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 35 of 44

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Debtor 1 Globe Photo, Inc. Case number (ifknown) + 20-11620-abl
First Name Middle Name Last Name

 

 

Es Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.39. State what the contract or Distribution Agreement

lease is for and the nature of
the debtor's interest

Sipa Press SA
§9 boulevard Exelmans
F-75016 Paris, France

State the term remaining

List the contract number of any
government contract

 

 

2.40. State what the contract or Photo Usage
lease is for and the nature of |§ Agreement

the debtor's interest
Snap Ltd. dba Celebrity-Cutouts

Randall Business Centre
Randall Park Way, Retford
Nottinghamshire, England, DN22 7WF

State the term remaining

List the contract number of any
government contract

 

 

2.41. State what the contract or Utilities
lease is for and the nature of
the debtor's interest

State the term remaining South tG
outhwest Gas

5241 Spring Mountain Road

List the contract number of any Las V NV 89146
as Vegas,

government contract

 

 

2.42. State what the contract or Distribution Agreement
lease is for and the nature of
the debtor's interest

State the term remaining

Splash Media
List the contract number of any 2060 Center ae 950
os Angeles,

government contract

 

 

2.43. State what the contract or License Agreement
lease is for and the nature of

the debtor's interest
Sunflower Poster China

No. 3 Zhen Xing Da Jie, Yang Fang Cun
Gao Li Yin Zhen, Shun Yi District
Bejing, China PC: 101300

State the term remaining

List the contract number of any
government contract

 

 

2.44. — State what the contract or Lease Agreement
lease is for and the nature of
the debtor's interest

 

State the term remaining 11/4/21 Tenaya Lofts LLC
6415 S. Tenaya Way, #105
List the contract number of any Las Vegas, NV 89113
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 8 of 9

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Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 36 of 44

DocuSign Envelope ID: 85D3FF5F-7244-4703-AEA0-9994FA5AC97C

Debtor1 Globe Photo, Inc.

First Name Middle Name Last Name

Case number (ifknown) 20-11620-abl

=] Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases

government contract

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

 

 

2.45. | State what the contract or Zedge Premium
lease is for and the nature of License Terms and

the debtor's interest Conditions
State the term remaining

List the contract number of any
government contract

Zedge Inc.
22 Cortlandt Street, 14 FI
New York, NY 10007

 

 

2.46. State what the contract or Distribution Agreement

lease is for and the nature of
the debtor's interest

State the term remaining

List the contract number of any
government contract

Zeta Image, Inc
Kanda-Neribeicho
Chiyoda-ku

101-0022 Tokyo, Japan

 

 

2.47. State what the contract or Agency Agreement

lease is for and the nature of
the debtor's interest

State the term remaining 8/1/2023

List the contract number of any
government contract

Zuma Press Inc.

34189 Pacific Coast Highway
Studio 201

Dana Point, CA 92629

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 9 of 9

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 37 of 44

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TMM LeeLee Uhm temo Cion
Debtorname Globe Photo, Inc.

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (ifknown) 20-11620-ab!
0 Check if this is an
amended filing

 

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

1 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Yes
2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of

creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

 

 

 

 

Column 1: Codebtor Column 2: Creditor
Name Malllng Address Name Check all schedules
that apply:
2.1. Photo File, LLC 333 N Bedford Rd.,Suite 130 Alan Trammell Op
Mount Kisco, NY 10549-1159 BEF 33
OG
2.2 Photo File, LLC 333 N Bedford Rd.,Suite 130 Albert W. Kaline OD
Mount Kisco, NY 10549-1159 MEF 3.4
OG
2.3. Photo File, LLC 333 N Bedford Rd.,Suite 130 Bob Lilly Ob
Mount Kisco, NY 10549-1159 MEF 3.9
OG
2.4 Photo File, LLC 333 N Bedford Rd.,Suite 130 Carl Yastrzemski Oo
Mount Kisco, NY 10549-1159 | E/F 3.15
OG
2.5 Photo File, LLC 333 N Bedford Rd.,Suite 130 Commerce Ob
Mount Kisco, NY 10549-1159 Technologies MEF 3.24
OG
Official Form 206H Schedule H: Your Codebtors Page 1 of 7

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Case 20-11620-abl

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Debtor

Globe Photo, Inc.

Ss Additional Page to List More Godebtors
Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

Column 1: Codebtor

Case number (if known)

Column 2: Creditor

Doc 14 Entered 04/02/20 17:17:23 Page 38 of 44

20-11620-abl

 

 

 

 

 

 

 

 

2.6 Photo File, LLC 333 N Bedford Rd.,Suite 130 Dave Robinson Ob
Mount Kisco, NY 10549-1159 MER 3.23
Os
2.7 Photo File, LLC 333 N Bedford Rd.,Suite 130 Don Larsen Oop
Mount Kisco, NY 10549-1159 BEF 3.25
OG
2.8 Photo File, LLC 333 N Bedford Rd.,Suite 130 Drew Bledsoe Oop
Mount Kisco, NY 10549-1169 MEF 3.28
OG
2.9 Photo File, LLC 333 N Bedford Rd.,Suite 130 Ed Jones OD
Mount Kisco, NY 10549-1159 MEF 3.29
OG
2.10 Photo File, LLC 333 N Bedford Rd.,Suite 130 Edgar Martinez Ob
Mount Kisco, NY 10549-1159 MEF 3.30
OG
2.11 Photo File, LLC 333 N Bedford Rd.,Suite 130 Edward Scott Yates OD
Mount Kisco, NY 10549-1159 BEF 3.31
OG
2.12 Photo File, LLC 333 N Bedford Rd.,Suite 130 Fuji Hunt OD
Mount Kisco, NY 10649-1159 Photographic MEF 3.35
Chemicals, Inc. SS
OG
2.13 Photo File, LLC 333 N Bedford Rd.,Suite 130 Gale Sayers Oop
Mount Kisco, NY 10549-1159 BEF 3.36
OG
Official Form 206H Schedule H: Your Codebtors Page 2 of 7

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Case 20-11620-abl

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Doc 14 Entered 04/02/20 17:17:23 Page 39 of 44

 

 

 

 

 

 

 

 

 

Debtor Globe Photo, Inc. Case number (ifknown) 20-11620-abl
Additional Page to List More Codebtors
Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
Column 1: Codebtor Column 2: Creditor

2.14 Photo File, LLC 333 N Bedford Rd.,Suite 130 Gale Sayers OD
Mount Kisco, NY 10549-1159 BEF 3.37

OG

2.15 Photo File, LLC 333 N Bedford Rd.,Suite 130 Gerald Cheevers Oop
Mount Kisco, NY 10549-1159 BEF 3.38

OG

2.16 Photo File, LLC 333 N Bedford Rd.,Suite 130 Gino Cappelletti Op
Mount Kisco, NY 10549-1159 BEF 3.39

OG

2.17 Photo File, LLC 333 N Bedford Rd.,Suite 130 Jack Youngblood Ob
Mount Kisco, NY 10549-1159 MEF 3.48

OG

2.18 Photo File, LLC 333 N Bedford Rd.,Suite 130 Jerry Koosman OD
Mount Kisco, NY 10549-1159 BEF 3.49

OG

2.19 Photo File, LLC 333 N Bedford Rd.,Suite 130 Jerry Rice Op
Mount Kisco, NY 10549-1159 HEF 3.50

OG

2.20 Photo File, LLC 333 N Bedford Rd.,Suite 130 Jim Plunkett Oo
Mount Kisco, NY 10549-1159 HEF 3.51

OG

2.21 Photo File, LLC 333 N Bedford Rd.,Suite 130 Joe Carter Oo
Mount Kisco, NY 10549-1159 BEF 3.52

OG

 

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Schedule H: Your Codebtors

Page 3 of 7
Best Case Bankruptcy
Case 20-11620-abl

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Debtor

Globe Photo, Inc.

Ls Additional Page to List More Codebtors
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Column 1: Codebtor

Doc 14 Entered 04/02/20 17:17:23 Page 40 of 44

Case number (ifknown) 20-11620-abl

 

Column 2: Creditor

 

 

 

 

 

 

 

2.22 Photo File, LLC 333 N Bedford Rd.,Suite 130 Joe Greene Ob
Mount Kisco, NY 10549-1159 a E/F 3.53
os
2.23 Photo File, LLC 333 N Bedford Rd.,Suite 130 John H. Lambert OD
Mount Kisco, NY 10549-1159 HEF 3.54
Os
2.24 Photo File, LLC 333 N Bedford Rd.,Suite 130 John M. Rivers OD
Mount Kisco, NY 10549-1159 BEF 3.85
os
2.25 Photo File, LLC 333 N Bedford Rd.,Suite 130 Johnny Bench OD
Mount Kisco, NY 10549-1159 BEF 3.56
os
2.26 Photo File, LLC 333 N Bedford Rd.,Suite 130 Keith Hernandez Oop
Mount Kisco, NY 10549-1159 @ EF 3.59
os
2.27 Photo File, LLC 333 N Bedford Rd.,Suite 130 Ken Griffey, Jr. Oop
Mount Kisco, NY 10549-1159 HEF 3.60
OG
2.28 Photo File, LLC 333 N Bedford Rd.,Suite 130 Lee Smith OD
Mount Kisco, NY 10549-1159 MEF 3.63
OG
2.29 Photo File, LLC 333 N Bedford Rd.,Suite 130 Lindenmeyr Munroe Oop
Mount Kisco, NY 10549-1159 HEF 3.64
OG

 

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Schedule H: Your Codebtors

Page 4 of 7
Best Case Bankruptcy
Case 20-11620-abl

DocuSign Envelope ID: 85D3FFS5F-7244-4703-AEA0-9994FA5AC97C

 

Doc 14 Entered 04/02/20 17:17:23 Page 41 of 44

 

 

 

 

 

 

 

 

 

Debtor Globe Photo, Inc. Case number (ifknown) 20-11620-abl
Additional Page to List More Codebtors
Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
Column 1: Codebtor Column 2: Creditor

2.30 Photo File, LLC 333 N Bedford Rd.,Suite 130 Lloyd Haymes Ob
Mount Kisco, NY 10549-1159 B E/F 3.65

OG

2.31 Photo File, LLC 333 N Bedford Rd.,Suite 130 LSQ Funding Group, OD
Mount Kisco, NY 10549-1159 L.c, MEF 3.66

OG

2.32 Photo File, LLC 333 N Bedford Rd.,Suite 130 Manny Flores Ob
Mount Kisco, NY 10549-1159 SEF 3.68

OG

2.33 Photo File, LLC 333 N Bedford Rd.,Suite 130 Mike Mussina OD
Mount Kisco, NY 10549-1159 MEF 3.70

OG

2.34 Photo File, LLC 333 N Bedford Rd.,Suite 130 Neal Broten Op
Mount Kisco, NY 10549-1159 MEF 3.72

OG

2.35 Photo File, LLC 333 N Bedford Rd.,Suite 130 Paul Coffey Op
Mount Kisco, NY 10549-1159 HEF 3.79

OG

2.36 Photo File, LLC 333 N Bedford Rd.,Suite 130 Paul Costello OD
Mount Kisco, NY 10549-1159 BEF 3.80

OG

2.37 Photo File, LLC 333 N Bedford Rd.,Suite 130 Phil Esposito Ob
Mount Kisco, NY 10549-1159 HEF 3.82

OG

 

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Schedule H: Your Codebtors

Page 5 of 7

Best Case Bankruptcy
Case 20-11620-abl

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Debtor

Globe Photo, Inc.

Si Additional Page to List More Godebtors
Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

2.38

Column 1: Codebtor

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Case number (if known)

Doc 14 Entered 04/02/20 17:17:23 Page 42 of 44

20-11620-abI

 

Column 2; Creditor

Porter Capital
Corporation

OD
MEF 3.86
OG

 

2.39

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Randy White

Oo
Ber 3.95
OG

 

2.40

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Richard Dent

OD
MEF 3,96
NOG

 

2.41

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Richard M. Gossage

Ob
MEF 3.97
OG

 

2.42

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Rickey Henderson

Ob
MEF 3.98
Oc

 

2.43

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Ripken Baseball

OD
MEF 3.99
OG

 

2.44

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Robert Gibson

Oo
MEF 3.101
OG

 

2.45

Photo File, LLC

333 N Bedford Rd.,Suite 130
Mount Kisco, NY 10549-1159

Rod Gilbert

OD
MEF 3.102
OG

 

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Schedule H: Your Codebtors

Page 6 of 7

Best Case Bankruptcy
Case 20-11620-abl

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Doc 14 Entered 04/02/20 17:17:23 Page 43 of 44

 

 

 

 

 

 

 

Debtor Globe Photo, Inc. Case number (ifknown) 20-11620-abl
Additional Page to List More Codebtors
Copy this page only If more space is needed. Continue numbering the lines sequentially from the previous page.
Column 1; Codebtor Column 2; Creditor
2.46 Photo File, LLC 333 N Bedford Rd.,Suite 130 Sara White OD
Mount Kisco, NY 10549-1159 MEF 3.104
ce
2.47 Photo File, LLC 333 N Bedford Rd.,Suite 130 Steve Grogan OD
Mount Kisco, NY 10549-1159 @ E/F 3.110
Osc |
2.48 Photo File, LLC 333 N Bedford Rd.,Suite 130 Steven Samagaio OD
Mount Kisco, NY 10549-1159 BEF 3.111
OG
2.49 Photo File, LLC 333 N Bedford Rd.,Suite 130 Stew Milne Oo
Mount Kisco, NY 10549-1159 Ser 3.412
OG
2.50 Photo File, LLC 333 N Bedford Rd.,Suite 130 TED HALPERIN Oop
Mount Kisco, NY 10549-1159 : | E/F 3.115
OG
Official Form 206H Schedule H: Your Codebtors Page 7 of 7

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Best Case Bankruptcy
Case 20-11620-abl Doc14 Entered 04/02/20 17:17:23 Page 44 of 44

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Fill in this information to identify the case:

 

Debtorname Globe Photo, Inc.

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (if known) 20-11620-abl
OO Check if this is an

amended filing

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the Individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result In flnes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

Com Declaration and signature

1am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H; Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule
Chapter 17 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

Other document that requires a declaration

 

OOOS BB EBB

 

Stuart Scheinman
EFQOD2AC EAD SALR

Signature of individual signing on behalf of debtor

+ . . DocuSigned by:
| declare under penalty of perjury that the foregoing is true and correct.
Executed on April 2, 2020 x

Stuart Scheinman

Printed name

Authorized Signatory
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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